33 F.3d 51
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Benjamin H. JONES, Plaintiff Appellant,v.William F. KELLY, Defendant Appellee.
    No. 94-6471.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  July 19, 1994Decided:  August 16, 1994.
    
      Appeal from the United States District Court for the Western District of Virginia, at Big Stone Gap.  Glen M. Williams, Senior District Judge.  (CA-87-262-B)
      Benjamin H. Jones, Appellant Pro Se.
      Henry Smith Keuling-Stout, Big Stone Gap, Virginia, for Appellee.
      W.D.Va.
      AFFIRMED.
      Before HALL, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his motion for production of a trial transcript at government expense.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Jones v. Kelly, No. CA-87-262-B (W.D.Va. Mar. 31, 1994).  We deny Appellant's motion for appointment of counsel and dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    